Case 1:20-cv-00842-CFC-JLH Document 327 Filed 05/31/22 Page 1 of 7 PageID #: 19615




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  AMO DEVELOPMENT, LLC,                 )
  AMO MANUFACTURING USA, LLC            )
  and AMO SALES AND SERVICE,            )
  INC.,                                 )
                                        )
                   Plaintiffs,          )
                                        ) C.A. No. 20-842 (CFC) (JLH)
              v.                        )
                                        )
  ALCON VISION, LLC,                    )
  ALCON LABORATORIES, INC. and          )
  ALCON RESEARCH, LLC,                  )
                                        )
                   Defendants.          )
  ALCON INC., ALCON RESEARCH, )
  LLC, and ALCON VISION, LLC, )
                              )
               Defendants and )
               Counterclaim   )
               Plaintiffs,    )
                              )
           v.                 )
                              )
  AMO DEVELOPMENT, LLC,       )
  AMO MANUFACTURING USA, LLC, )
  AMO SALES AND SERVICE, INC. )
  and JOHNSON & JOHNSON       )
  SURGICAL VISION, INC.,      )
                              )
               Plaintiffs and )
               Counterclaim   )
               Defendants.    )
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                                NOTICE OF SERVICE

        The undersigned hereby certifies that copies of (1) Rebuttal Expert Report of

  Nikolaus Baer, (2) Rebuttal Expert Report of Douglas C. Schmidt, Ph.D., and (3)

  Rebuttal Expert Report of Laura B. Stamm were caused to be served on May 27,

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                             CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2022, I caused the foregoing to be

  electronically filed with the Clerk of the Court using CM/ECF, which will send

  notification of such filing to all registered participants.

        I further certify that I caused copies of the foregoing document to be served

  on May 31, 2022, upon the following in the manner indicated:

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